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                            HEINS MILLS & OLSON, P.L.C.
                                          3550 IDS Center
                                        80 South Eighth St.
                                       Minneapolis, MN 55403


                                            Firm Résumé

                                             October 2005



          The law firm of Heins Mills & Olson, P.L.C., located in Minneapolis, Minnesota, has a

national practice in the field of complex litigation. The principal part of the firm’s work is

representing plaintiffs and plaintiff classes in a variety of class actions, primarily in the areas of

securities fraud, antitrust violations, and deceptive trade practices and consumer fraud. The

members of the firm collectively have many decades of experience in complex litigation and

have successfully prosecuted more than 100 class actions.

          Heins Mills & Olson frequently serves as lead counsel for plaintiffs and plaintiff classes.

The firm’s institutional investor clients have included numerous state pension funds, managing

billions of dollars in assets, including the Utah State Retirement Board, Teachers’ Retirement

System of Alabama, Employees’ Retirement System of Alabama, Judicial Retirement Fund of

Alabama, Public Employees’ Retirement Association of Colorado, as well as certain Taft-

Hartley health, welfare and pension funds. In securities litigation, the firm is counsel for the

Minnesota State Board of Investment (MSBI), lead plaintiff in In re AOL Time Warner, Inc.

Securities Litigation (S.D.N.Y.). As lead counsel in the case, the firm recently achieved a $2.65

billion settlement on behalf of purchasers of securities of America Online and media-giant Time

Warner. The settlement is one of the five largest securities fraud class settlements in history and

the second-largest ever paid by a securities issuer. The court has granted preliminarily approval



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of the settlement and will consider final approval early next year. The firm is also lead counsel

in In re Broadcom Corp. Securities Litigation (C.D. Cal.), a securities fraud case brought on

behalf of a class of Broadcom shareholders. The firm reached a $150 million settlement, which

was recently approved by the court. This settlement also ranks as one of the 25 largest in history.

The firm also served as lead counsel for the class of securities investors in In re Mercury Finance

Company Securities Litigation (N.D. Ill.). After negotiating a settlement with Mercury’s

auditing firm for $40.5 million, one of the largest recoveries ever obtained from an accounting

firm for violations of the securities laws, the firm obtained additional recoveries of over $15

million from Mercury’s officers and directors, and Mercury itself, even though the company was

in bankruptcy. The firm also represents several other public pension funds in class and

individual securities fraud cases.

       In antitrust litigation, Heins Mills & Olson is one of two lead counsel firms representing a

class of purchasers of food additives in In re Monosodium Glutamate Antitrust Litigation (D.

Minn.). The firm has negotiated settlements, totaling $123.4 million, with most of the

defendants. The firm served as lead trial counsel representing travel agents against major

domestic airlines in In re Travel Agency Commission Antitrust Litigation (D. Minn.), which

resulted in eve-of-trial settlements totaling $86 million. The firm also was co-lead counsel for

classes of consumers of infant formula in state court price-fixing actions brought in seventeen

states against infant formula manufacturers, which were settled collectively for $64 million in

cash and infant formula products. Heins Mills & Olson currently serves as co-lead counsel for

purchasers of laminated cabinetry in In re High Pressure Laminates Antitrust Litigation

(S.D.N.Y.), and as a co-chair of plaintiffs’ discovery committee in In re Vitamins Antitrust




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Litigation (D.D.C.). In addition, the firm was recently appointed co-lead counsel in In re

Polyester Staple Antitrust Litigation (W.D.N.C.).

       Heins Mills & Olson has represented consumers injured as a result of violations of

various deceptive trade practices and consumer protection laws. The firm has brought claims on

behalf of all types of consumers, including purchasers of prescription drugs, long distance

telephone service, air compressors, smoke detectors, and hearing aids. As an advocate for

consumer rights, the firm is one of three co-lead counsel in In re Universal Service Fund

Telephone Billing Practices Litigation (D. Kan.), brought on behalf of business and residential

customers concerning USF surcharges collected by long-distance telephone companies. The

firm also is lead counsel in several statewide and national class actions brought on behalf of

landowners against telecommunications companies that have laid fiber-optic cable in railroad

rights of way without compensating the owners of the adjacent or underlying land. The firm also

represents individual parties in other commercial cases, primarily in the areas of patent,

trademark, unfair competition, and deceptive trade practices litigation.

       Heins Mills & Olson comprises nineteen attorneys (seven partners and twelve associates)

with a supporting staff of highly experienced paralegal assistants and administrative personnel.


Samuel D. Heins

       Samuel D. Heins is a member and governor of the firm. He received his undergraduate

degree from the University of Minnesota in 1968 and graduated from the University of

Minnesota Law School (J.D.) in 1972. He served as a law clerk to the Honorable Earl R. Larson,

United States District Judge, District of Minnesota (1972-73). He has been a visiting professor

at the University of Minnesota’s School of Architecture.




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       Mr. Heins has extensive experience in complex litigation, particularly in securities fraud

and antitrust class actions, and he has served as lead or co-lead counsel in a number of major

class actions. He served as lead trial counsel in In re Travel Agency Commission Antitrust Litig.

(D. Minn.), and he is now involved in, among other matters, In re AOL Time Warner Securities

Litig. (S.D.N.Y.); In re Pharmaceutical Industry Average Wholesale Price Litig. (E.D. Mass.); In

re Monosodium Glutamate Antitrust Litig. (D. Minn.); In re High Pressure Laminates Antitrust

Litig. (S.D.N.Y.); In re Universal Service Fund Telephone Billing Practices Litig. (D. Kan.); In

re Fiber Optic Cable Litig. (N.D. Ill.); In re Broadcom Corp. Securities Litig. (C.D. Cal.); In re

Green Tree Financial Stock Litig. (D. Minn.); and In re Vitamins Antitrust Litig. (D.D.C.). In

addition, Mr. Heins represented several state public pension funds in private litigation to recover

the funds’ securities losses related to their purchases of McKesson HBOC common stock. These

funds include the Utah State Retirement Board, the Public Employees’ Retirement Association

of Colorado, and the Minnesota State Board of Investment. Other cases in which he has

participated in the representation of plaintiff classes include: In re Mercury Finance Co. Sec.

Litig. (N.D. Ill.); In re Stucco Litig. (E.D.N.C.); In re Olympic Financial Sec. Litig. (D. Minn.);

American Carriers Sec. Litig. (D. Kan.); Archer Communications Sec. Litig. (C.D. Cal.); In re

Grand Casinos Securities Litig. (D. Minn.); Bulk Popcorn Antitrust Litig. (D. Minn.);

Charterhouse Sec. Litig. (D. Minn.); Comserv Sec. Litig. (D. Minn.); Craig-Hallum Sec. Litig.

(D. Minn.); Daisy Systems Corp. Sec. Litig. (N.D. Cal.); Damson Oil & Gas Limited

Partnerships Sec. Litig. (S.D.N.Y); Diamonds Antitrust Litig. (S.D.N.Y.); EECO Sec. Litig.

(C.D. Cal.); Embassy Suites Sec. Litig. (C.D. Cal.); Endotronics Sec. Litig. (D. Minn.); Fidelity

Medical Inc. Sec. Litig. (D.N.J.); Harcourt Brace Jovanovich, Inc. Sec. Litig. (S.D.N.Y.); In re

HMOA Sec. Litig. (N.D. Ill.); Jan Bell Sec. Litig. (S.D. Fla.); K-tel Corp. Sec. Litig. (D. Minn.);



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Kirschner Medical Corp. Sec. Litig. (D. Md.); L.A. Gear Sec. Litig. (C.D. Cal.); Miniscribe Sec.

Litig. (D. Colo.); In re Molybdenum Antitrust Litig. (W.D. Pa.); Mortgage & Realty Trust Sec.

Litig. (E.D. Pa.); Netteburg v. Cheyenne Land Co. (D. Minn.); Pinnacle West Sec. Litig. (D.

Ariz.); Residential Resources Sec. Litig. (D. Ariz.); Saxon Industries Sec. Litig. (S.D.N.Y.);

Simmons Co. ERISA Litig. (W.D. Wis.); Tandon Corp. Sec. Litig. (C.D. Cal.); Thousand Trails,

Inc. Sec. Litig. (W.D. Wash.); and Wirebound Boxes Antitrust Litig. (D. Minn.).

       Mr. Heins is a member of the Federal Advisory Committee to the Judicial Council of the

Eighth Circuit. He was a member of the Minneapolis Charter Commission and has served as

president of both the Minnesota Advocates for Human Rights and the Minnesota Center for

Victims of Torture. He also is a member of the Hennepin County, Minnesota State (Member,

Board of Governors, 1978-1984) and American Bar Associations.


Stacey L. Mills

       Stacey L. Mills is a member and governor of the firm. She received her undergraduate

degree from the University of Nebraska in 1980 and graduated from California Western School

of Law (J.D.) in 1983. Ms. Mills is admitted to practice in the Minnesota state courts, the United

States District Courts for the Southern, Central and Northern Districts of California and the

District of Minnesota, and the United States Court of Appeals for the Ninth Circuit. She is a

member of the California and Minnesota State Bar Associations,

       Ms. Mills was one of the lead lawyers most actively involved on behalf of the plaintiff

class in In re Travel Agency Commission Antitrust Litig. (D. Minn.). During the past fifteen

years of practice, she has continuously practiced in the area of class and other complex litigation.

Class actions in which she now is or recently has been involved include: In re AOL Time Warner

Securities Litig. (S.D.N.Y.); In re High Pressure Laminates Antitrust Litig. (S.D.N.Y.); In re


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Fiber Optic Cable Litig. (N.D. Ill.); In re Broadcom Corp. Securities Litig. (C.D. Cal.); In re

Green Tree Financial Stock Litig. (D. Minn.); In re Grand Casinos, Inc. Sec. Litig. (D. Minn.); In

re Buffets, Inc. Sec. Litig. (D. Minn.); In re Mercury Finance Co. Sec. Litig. (N.D. Ill.); In re

Digi International, Inc. Sec. Litig. (D. Minn.); In re Olympic Financial Sec. Litig. (D. Minn.); In

re Policy Management Systems Corp. Secs. Litig. (D.S.C.); In re High-Fructose Corn Syrup

Antitrust Litig. (C.D. Ill.); Jong Lee v. Summit Medical Systems, Inc. (D. Minn.); In re Tricord

Systems, Inc. Sec. Litig. (D. Minn.); and In re NASDAQ Market-Makers Antitrust Litig.

(S.D.N.Y.). Other actions in which she has participated in the representation of plaintiff classes

include: In re Scimed Life Sec. Litig. (D. Minn.), A & J Deutscher Family Fund v. Bullard (C.D.

Cal.); In re Unioil Sec. Litig. (C.D. Cal.); In re Cousins Sec. Litig. (S.D. Cal.); In re Daisy

Systems (N.D. Cal.); In re HMOA Sec. Litig. (N.D. Ill.); In re Employee Benefit Plans Sec.

Litig. (D. Minn.); Guenther v. Cooper Life Sciences (N.D. Cal.); In re Tera Sec. Litig. (N.D.

Cal.); In re Technical Equities Sec. Litig. (N.D. Cal.); Krasner v. Mitchell (Cal. Super. Ct. Los

Angeles); Kurgen v. Boise (C.D. Cal.); Levy v. Eletr (N.D. Cal.); Mirochnick v. Glasky (C.D.

Cal.); Shields v. Smith (N.D. Cal.); Steiner v. Whittaker Corp. (Cal. Super. Ct. Los Angeles);

Thau v. Johnson (S.D. Cal.); The Clothestime Sec. Litig. (C.D. Cal.); Weinberger v. Kwiker

(C.D. Cal.); and Weinberger v. Liebel (S.D. Cal.).

       Complex civil actions in which Ms. Mills has represented plaintiffs asserting derivative

claims on behalf of corporations include: Goldman v. Belzberg (Cal. Super. Ct. Los Angeles)

(on behalf of FarWest Savings & Loan Association); Grobow v. Dingman, (S.D. Cal.) (on behalf

of The Henley Group, Inc.); In re Lockheed Corp. Sec. Litig. (C.D. Cal.); Pacific Gas & Elec.

Shareholder Derivative Litig. (Cal. Super. Ct. San Francisco); and Seaman v. Pratt, (Cal. Super.

Ct. Orange Co.) (on behalf of Pfizer Inc.).



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Bryan L. Crawford

       Bryan L. Crawford is a partner in the firm. He is a summa cum laude graduate of the

University of South Dakota (B.A. 1982) and a magna cum laude graduate of the University of

Minnesota Law School (J.D. 1985), where he was elected to Order of the Coif. Mr. Crawford is

admitted to practice in the United States District Courts for the District of Minnesota and the

Western District of Wisconsin, and he is a member of the Federal, Minnesota, and Hennepin

County Bar Associations. He is currently, or recently has been involved in numerous class

actions and other complex cases, including In re Broadcom Corp. Sec. Litig. (C.D. Cal.); In re

AOL Time Warner, Inc. Securities Litig. (S.D.N.Y.); In re Pharmaceutical Industry Average

Wholesale Price Litig. (D. Mass.); In re Lupron Marketing and Sales Practices Litig. (D. Mass.);

In re Green Tree Financial Stock Litig. (D. Minn.); In re Mercury Finance Co. Sec. Litig. (N.D.

Ill.); In re Baycol Products Litig. (D. Minn.); Lambert v. American Express Financial Corp., (D.

Minn.); In re Grand Casinos, Inc. Sec. Litig. (D. Minn.); In re Rainforest Cafe, Inc. Sec. Litig.,

(D. Minn.); In re High-Fructose Corn Syrup Antitrust Litig. (C.D. Ill.); In re Olympic Financial

Sec. Litig. (D. Minn.); In re Travel Agency Comm’n Antitrust Litig. (D. Minn.); In re Employee

Benefit Plans Sec. Litig. (D. Minn.); and In re SciMed Life Sec. Litig. (D. Minn.). In addition,

he is one of the lawyers who represented Colorado, Minnesota and Utah State Employee Pension

Funds in private litigation regarding losses suffered in connection with their purchases of

McKesson HBOC securities.


Alan I. Gilbert

       Alan I. Gilbert is a partner in the firm. He is a graduate of the University of Minnesota

(B.A. 1974) and a cum laude graduate of William Mitchell College of Law (J.D. 1978). After



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graduation from law school, Mr. Gilbert served as a law clerk to Minnesota Supreme Court

Justice George M. Scott and in 1980 joined the Minnesota Attorney General’s Office as a Special

Assistant Attorney General in the Commerce Division. In 1987, Mr. Gilbert became the

manager of the Commerce Division and, in 1992, the manager of the Commerce and Gambling

Division. He was appointed Minnesota’s Solicitor General in 1995 and its Chief Deputy

Attorney General in 1999, and he served in both capacities until January 2003.

       Mr. Gilbert has extensive experience representing and providing legal advice and

opinions to Minnesota state agencies, constitutional officers and other public officials. He has

testified before state legislative and congressional committees on issues in securities law,

insurance regulation, Indian gaming, corporate takeovers and constitutional law.

       Mr. Gilbert also has extensive litigation experience and has represented the State of

Minnesota in both state and federal courts. In March 2002, he appeared before the United States

Supreme Court in Republican Party of Minnesota v. White, 122 S.Ct. 2528 (2002), which

involved the constitutionality of campaign restrictions in judicial elections. Other recent

examples of Mr. Gilbert’s cases include Metropolitan Sports Facilities Comm’n v. Minnesota

Twins Partnership, 638 N.W.2d 214 (Minn. App. 2002), which required the Minnesota Twins

baseball team to specifically perform its ballpark lease, and State v. BlueCross BlueShield of

Minnesota, which resulted in a groundbreaking process for reviewing mental health claim

denials and payment of over $10 million to the State and individual consumers.

       Mr. Gilbert has taught legal writing as an adjunct professor at William Mitchell College

of Law. He has been a frequent continuing legal education lecturer on a variety of subjects

including ethics, insurance and securities regulation, litigation, gambling and constitutional law.

Mr. Gilbert has served on a variety of committees including the Minnesota Supreme Court’s



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Committee on Appellate Rules, the Governor’s Advisory Committee on Gambling, the State

Accounts Receivable Engineering Project, the Insurance Company Solvency Task Force, and

Wellspring and Bar Association Committees on Corporate Takeover Legislation.

       Mr. Gilbert is a member of the Minnesota State and Dakota County Bar Associations. He

is admitted to practice before Minnesota state courts, the U.S. District Courts for the Districts of

Minnesota and D.C., the U.S. Courts of Appeals for the Eighth and Ninth Circuits, and the

United States Supreme Court.

       Mr. Gilbert is currently working on several class action matters, including AOL Time

Warner, Inc. Securities Litig. (S.D.N.Y.); Dambrosio v. Comcast Corp. (E.D. Pa.) and Rogers v.

Comcast Corp. (D. Mass.) (Comcast Cable Antitrust Matter); In re Relafen Antitrust Litig. (D.

Mass.); and Barry Kushner v. General Motors Corp. (Canadian Car Antitrust Litig.) (D. Me.).


Brian L. Williams

       Brian L. Williams is a partner in the firm. He is a graduate of St. John’s University,

Collegeville, Minnesota (B.A. 1989) and a cum laude graduate of William Mitchell College of

Law (J.D. 1992). He was a member of the William Mitchell Law Review. Mr. Williams is

admitted to practice in the U.S. District Court of Minnesota and the U.S. Court of Appeals for

the Eighth Circuit. He is a former prosecutor and a member of the Minnesota State and

Hennepin County Bar Associations.

       Mr. Williams is currently working on In re Broadcom Corp. Sec. Litig. (C.D. Cal.); In re

Pharmaceutical Industry Average Wholesale Price Litig. (D. Mass.); and In re Lupron Marketing

and Sales Practices Litig. (D. Mass.). Other class actions in which he previously has been

involved include: In re Premarin Antitrust Litig. (S.D. Ohio); In re MSG Antitrust Litig. (D.

Minn.); and In re Relafen Antitrust Litig. (D. Mass.).


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Vincent J. Esades

       Vincent J. Esades is a partner in the firm. He is a cum laude graduate of the University of

North Dakota (B.A. 1991) and a graduate of the University of North Dakota School of Law (J.D.

1994). He is admitted to practice in Minnesota and North Dakota and in the U.S. District Court

for the District of Minnesota. He is currently working on several class actions, including In re

Polyester Staple Antitrust Litig. (W.D.N.C.); In Re Bulk Graphite Antitrust Litig. (D.N.J.); In re

High Pressure Laminates Antitrust Litig. (S.D.N.Y.); In re Universal Service Fund Telephone

Billing Practices Litig (D. Kan.); In re Publication Paper Antitrust Litig. (D. Conn.); and In re

Hydrogen Peroxide Antitrust Litig. (E.D. Pa.). Mr. Esades was heavily involved in In re Travel

Agency Commission Antitrust Litig. (D. Minn.). Other class actions in which he previously has

been involved include: In re Vitamins Antitrust Litig. (D.D.C.); Howe v. Microsoft Corp. (N.D.);

Gordon v. Microsoft Corp. (Minn., 4th Jud. Dist.); In re Compact Disc Antitrust Litig. (C.D.

Cal.); Lambert v. American Express Fin. Corp. (D. Minn.); In re NASDAQ Market-Makers

Antitrust Litig. (S.D.N.Y.); In re Motorsports Merchandise Antitrust Litig. (N.D. Ga.); and Lazy

Oil, Inc. v. Witco Corp. (W.D. Pa).


Dylan J. McFarland

       Dylan J. McFarland is a partner in the firm. He is a graduate of the University of

Minnesota (B.A. summa cum laude, 1977) and the Harvard Law School (J.D. cum laude, 1980).

While attending Harvard, Mr. McFarland was an editor of the Harvard Civil Rights-Civil

Liberties Law Review. He is admitted to practice in the Minnesotan state courts, the U.S.

District Court for the District of Minnesota, and the U.S. Court of Appeals for the Eighth Circuit

Court. He is a member of the Minnesota State and Hennepin County Bar Associations. From



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1998-2002, he was an Adjunct Professor of Law at William Mitchell College of Law, where he

taught Legal Writing, Trial Skills, and Appellate Advocacy.

       Mr. McFarland is currently working on complex litigation matters, including In re AOL

Time Warner Sec. Litig. (S.D.N.Y.) and In re Broadcom Corp. Sec. Litig. (C.D. Cal.).


David Woodward

       David Woodward is an associate of the firm. He graduated with highest honors from St.

Cloud State University (B.A. 1971) and from the School of Law of the University of California

in Los Angeles (J.D. 1975), where he was admitted to the Order of the Coif and was a member of

the UCLA Law Review. He was awarded a Masters of Law with highest honors in 1985 from

the National Law Center, Washington, D.C.

       From 1987-2003, Mr. Woodward served as an Assistant Attorney General in the Civil

Enforcement Unit of the Minnesota Attorney General’s Office. Mr. Woodward has extensive

experience representing the State of Minnesota in lawsuits enforcing statutory prohibitions

against false advertising, deceptive trade practices and consumer fraud. Mr. Woodward’s

consumer protection litigation areas of emphasis included health frauds, mortgage related

enforcement matters and deceptive practices particularly impacting vulnerable consumers. On

behalf of the Minnesota Attorney General’s Office, Mr. Woodward helped to create a multi-state

health fraud litigation group, which he co-chaired from 1994-1996. He served as lead counsel on

behalf of the State of Minnesota in numerous multi-state enforcement efforts involving the

application of state consumer protection statutes to nationwide drug advertising and promotional

practices within the pharmaceutical industry, as well as a multi-state settlement with a large food

company involving application of federal and state food laws and state consumer laws to the

advertising and sale of a combination food/toy product marketed to young children.


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       Mr. Woodward has extensive consumer protection litigation experience. He has

represented the State of Minnesota in both state and federal courts. He represented the State of

Minnesota in State v. American Family Mut. Ins. Co., 609 N.W.2d 1 (Minn. Ct. App. 2000), a

consumer and insurance law enforcement matter benefiting homeowners statewide in a case

confirming the Attorney General’s authority to sue insurers to enforce Minnesota consumer and

insurance laws. Mr. Woodward has represented the State in numerous false advertising,

deceptive trade practices and consumer fraud cases, including litigation challenging advance fee

loan schemes; college financial aid services companies; credit repair frauds; usurious credit card

charges; home mortgage escrow overcharges; false advertising for bogus yellow page

directories; the sale of bogus cancer treatment devices; the marketing to young consumers of an

unapproved, dangerous drug misrepresented as a safe and natural product; misrepresentations in

the sale of hearing aids; travel promotion schemes; deceptive practices affecting small

businesses; and deceptive sweepstakes practices by major national sweepstakes companies.

       From 1976-1979 and 1980-1987, Mr. Woodward served as a staff attorney for a non-

profit legal services corporation providing legal representation in civil matters, including

litigation, to low-income persons in south central Pennsylvania. He was counsel before the

Pennsylvania Supreme Court in Pugh v. Holmes, 405 A.2d 897 (Pa. 1979), a seminal case which

established on a statewide basis the implied warranty of habitability in residential lease

transactions.

       Mr. Woodward is admitted to practice before Minnesota, Pennsylvania and California

state courts, United States District Court for the Districts of Minnesota and the Middle District of

Pennsylvania, the United States Courts of Appeals for the Third, Fifth, Eighth and Ninth

Circuits, and the United States Supreme Court. Mr. Woodward has provided pro bono



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representation to persons seeking asylum. In 2000, he received the Pro Bono Volunteer Annual

Attorney Award from Minnesota Advocates for Human Rights.

          Mr. Woodward works on antitrust, consumer fraud and securities fraud class litigation in

which the Heins Mills & Olson firm serves as plaintiffs’ counsel.


Barbara J. Felt

          Barbara J. Felt is an associate of the firm. She received her undergraduate degree from

the University of Minnesota (B.A. magna cum laude, 1980) and her law degree from William

Mitchell College of Law (J.D. 1992). She has a broad range of experience in civil litigation

matters, including handling commercial litigation and products liability claims. Ms. Felt has

been involved in all aspects of the litigation and appellate process, and has participated in several

significant trials and appeals involving cases of first impression.

          Ms. Felt was named a “Super Lawyer” by Minnesota Law & Politics in 2004, 2003 and

2002, and a “Rising Star” in 2002 and 2001, recognitions based on attorney polling across

Minnesota. She is admitted to practice in the State of Minnesota, the U.S. District Court for the

District of Minnesota, and the U.S. Court of Appeals for the Eighth Circuit. Ms. Felt is a

member of the Minnesota State and Hennepin County Bar Associations, the Minnesota Trial

Lawyers Association, and Minnesota Women Lawyers. She has authored several articles and

chapters for publications, and has spoken at a number of legal education seminars on litigation

topics.

          Ms. Felt is currently working on several class actions, including In re Universal Service

Fund Telephone Billing Practices Litig. (D. Kan.), In re AOL Time Warner, Inc. Securities Litig.

(S.D.N.Y.), In re Pharmaceutical Industry Average Wholesale Price Litig. (D. Mass.), Ferrell v.

Wyeth-Ayerst Labs (D. Ohio) and Blevins v. Wyeth-Ayerst Labs (Cal. Sup. Ct.).


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Susan E. MacMenamin

       Susan E. MacMenamin is an associate of the firm. She is a graduate of Grinnell College

(B.A. 1995) and a cum laude graduate of the University of Minnesota Law School (J.D. 2000),

where she was the recipient of the law school’s Public Service Award (2000) and placed second

in the National Civil Rights Moot Court Competition (2000). Ms. MacMenamin served as a law

clerk to Magistrate Judge John M. Mason, United States District Court for the District of

Minnesota (2000-2001). She is admitted to practice in the state courts of Minnesota and in the

U.S. District Court for the District of Minnesota. Ms. MacMenamin was named a Rising Star for

2006 by Minnesota Law & Politics magazine. She is currently working on several class actions,

including In re Pharmaceutical Industry Average Wholesale Price Litig. (D. Mass.); In re

Polyester Staple Antitrust Litig. (W.D.N.C.); In re Lupron Marketing and Sales Practices Litig.

(D. Mass.); In re Relafen Antitrust Litig. (D. Mass.); and In re MSG Antitrust Litig. (D. Minn.).


Lori A. Johnson

       Lori A. Johnson is an associate of the firm. She is a graduate of Concordia College (B.A.

1993) and a cum laude graduate of the University of Minnesota Law School (J.D. 2001), where

she served as a member of the Minnesota Law Review. She was a recipient of a Public Interest

Law Fellowship and the Minnesota Justice Foundation Public Service Award (2001). Ms.

Johnson served as a law clerk to the Honorable Kevin S. Burke, Chief Judge, Fourth Judicial

District of Minnesota (2001-02). She is admitted to practice in the U.S. District Court for the

District of Minnesota and in the state courts of Minnesota. Ms. Johnson is currently working on

In re AOL Time Warner, Inc. Sec. Litig. (S.D.N.Y.). In the past, Ms. Johnson has worked on In




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re McKesson HBOC Sec. Litig. (N.D. Cal.), In re Magnetic Audiotape Antitrust Litig.

(S.D.N.Y.), and Ellerbrake v. Campbell-Hausfeld, (Ill.).


Muria J. Kruger

       Muria J. Kruger is an associate of the firm. She is a summa cum laude graduate of

Hamline University (B.A. 1994) and a magna cum laude graduate of the University of Minnesota

Law School (J.D. 2001), where she served as a Note & Comment Editor of the Minnesota

Journal of Global Trade. She was a recipient of the Minnesota Justice Foundation Public Service

Award (2001). She is admitted to practice in the state courts of Massachusetts and Minnesota

and in the U.S. District Court for the District of Minnesota. Ms. Kruger is currently working on

In re Polyester Staple Antitrust Litig. (W.D.N.C.).


Troy J. Hutchinson

       Troy J. Hutchinson, an associate of the firm, is a graduate of the University of Wisconsin-

Madison (B.A. summa cum laude, 1999) and the University of Minnesota Law School (J.D. cum

laude, 2002). Mr. Hutchinson served as a law clerk to the Honorable Raymond L. Erickson,

United States Magistrate Judge, District of Minnesota (2002-2004). He is admitted to practice in

the state courts of Minnesota, and the United States District Court for the District of Minnesota.

Mr. Hutchinson is currently working on complex civil litigation matters, including In re AOL

Time Warner Sec. Litig. (S.D.N.Y.) and In re Bulk Graphite Antitrust Litig. (D.N.J.).


Jessica N. Servais

       Jessica N. Servais is an associate of the firm. She is a graduate of Macalester College

(B.A. magna cum laude, 1996) and the University of Minnesota Law School (J.D. 2002), where

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as a law clerk to the Honorable Michael J. Davis, U.S. District Court Judge, District of

Minnesota (2002-2003). She is admitted to practice in the state courts of Minnesota and

Wisconsin, and in the U.S. District Court for the District of Minnesota. She currently is or has

recently been working on complex litigation, including Dambrosio v. Comcast Corp. (E.D.Pa.);

Kristian v. Comcast Corp. (D.Mass); Rogers v. Comcast Corp. (D.Mass.); In re Universal

Service Fund Telephone Billing Practices Litig. (D. Kan.); and In re Relafen Antitrust Litig.

(N.D. Cal.). In addition, she is one of the lawyers who represented Colorado, Minnesota and

Utah State employee pension funds in private litigation regarding losses suffered in connection

with their purchases of McKesson HBOC securities.


Matthew W. Ruan

        Matthew Ruan is an associate in the firm. He is a graduate of the University of Chicago

(A.B. 2000) and the University of Michigan Law School (J.D. 2003), where he was an editor of

the Michigan Journal of International Law. Mr. Ruan served as a judicial extern to the

Honorable Blanche M. Manning, U.S. District Court Judge, Northern District of Illinois. He is

admitted to practice in the state courts of Minnesota and is currently working on complex civil

cases, including In re Pharmaceutical Industry Average Wholesale Price Litig. (D. Mass.); In re

AOL Time Warner Securities Litig. (S.D.N.Y.); In re Universal Service Fund Telephone Billing

Practices Litig. (D. Kan.); and In re New Motor Vehicle Canadian Export Antitrust Litig. (D.

Me.).



Anna E. Jenks

        Anna E. Jenks is an associate of the firm. She graduated with honors from the College of

Wooster (B.A. 2000) and from the University of Minnesota Law School (J.D. cum laude, 2003),


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where she served as a Note & Comment Editor of the Minnesota Journal of Global Trade. She is

currently finishing her Masters in Public Policy at the Hubert H. Humphrey Institute of Public

Affairs. She is admitted to practice in the state courts of Minnesota and Illinois, and in the U.S.

District Court for the District of Minnesota. Ms. Jenks is currently working on complex civil

litigation matters, including In re AOL Time Warner, Inc. Sec. Litig. (S.D.N.Y.) and In re

Polyster Staple Antitrust Litig. (W.D.N.C.).


Scott W. Carlson

       Scott W. Carlson is an associate of the firm. He is a graduate of the Honors Program at

Minot State University (B.A. 1993) and a cum laude graduate of the University of Minnesota

Law School (J.D. 2004), where he served as a Managing Editor of the Minnesota Law Review,

as the first Chairman of the Minnesota Law Review Technology Committee, and was a recipient

of the Legal Writing & Research Program’s “Best Oralist Award” (2001-02). Mr. Carlson

served as a judicial extern to the Honorable United States Chief Magistrate Judge Franklin L.

Noel, United States District Court, District of Minnesota (summer 2002).

       In his previous professional experience, Mr. Carlson served as a Senior Analyst on the

staff of the U.S. Senate Budget Committee (2000-01), as a Legislative Assistant (1997-2000) and

Legislative Correspondent (1993-94) to U.S. Senator Kent Conrad (D-N.D.), as the

Communications Director of the Lee Kaldor for Governor of North Dakota campaign (1996),

and as the Policy & Communications Director of the N.D. Department of Agriculture (1994-96).

       Mr. Carlson is admitted to practice in the U.S. District Court for the District of Minnesota

and in the state courts of Minnesota. He is currently working on several class actions, including

In re AOL Time Warner Securities Litig. (S.D.N.Y.), In re High Pressure Laminates Antitrust

Litig. (S.D.N.Y.), In re Guidant Corporation Implantable Defibrillators Products Liability


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Litigation (D. Minn.) and other complex litigation. Class actions in which Mr. Carlson has

previously been involved include In re Monosodium Glutamate Antitrust Litig. (D. Minn.), In re

Relafen Antitrust Litig. (N.D. Cal.), and In re Fiber Optic Cable Litig. (N.D. Ill.).


Katherine T. Kelly

       Katherine Kelly is an associate of the firm. She is a graduate of the University of

Minnesota (B.S. 2001) and William Mitchell College of Law (J.D. 2004), where she was an

Assistant Editor of the William Mitchell Law Review. Ms. Kelly is admitted to practice in the

state courts of Minnesota and before the United States Patent and Trademark office. Ms. Kelly is

currently working on complex civil cases, including In re AOL Time Warner Securities Litig.

(S.D.N.Y).


Christian J. Clapp

       Christian Clapp is an associate of the firm. She is a summa cum laude graduate of the

University of North Dakota (B.A. 2001) and a cum laude graduate of the University of

Minnesota Law School (J.D. 2005). While in law school, Ms. Clapp served as an intern law

clerk to the Honorable Paul Magnuson, United States District Court, District of Minnesota. Ms.

Clapp is admitted to practice in the state courts of Minnesota. She is currently working on

several class actions, including In re Green Tree Securities Litig. (D. Minn.); In re Grand

Casinos, Inc. Securities Litig. (D. Minn.); In re Olympic Financial Securities Litig. (D. Minn.);

and In re Publication Paper Antitrust Litig. (D. Conn.).




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